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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 1:13-cv-21570-BB

       UNITED STATES OF AMERICA
            Plaintiff,

       v.

       MIAMI-DADE COUNTY, THE BOARD
       OF COUNTY COMMISSIONERS, et. al.,
             Defendants.
       __________________________________/


                              PLAINTIFF’S RESPONSE TO
                   MOTION TO TERMINATE UNDER 18 U.S.C. § 3626(b)(1)(A)

            The United States respectfully submits this response to Miami-Dade County, the Board

  of County Commissioners of Miami-Dade County, and the Public Health Trust of Miami-Dade

  County’s (“the Defendants”) Motion to Terminate the Consent Agreement [ECF No. 287,

  “Motion”] pursuant to 18 U.S.C. § 3626(b)(1)(A)(i) of the Prison Litigation Reform Act

  (“PLRA”). The United States does not oppose the Defendants’ Motion and believes termination

  of the Consent Agreement [ECF No. 9; See ECF No. 5-2] is appropriate.

  I.        Purpose of the Consent Agreement

            On August 24, 2011, the United States issued a findings letter, pursuant to the Civil

  Rights of Institutionalized Persons Act, 42 U.S.C. § 1997, outlining a pattern or practice of

  constitutional violations in Miami-Dade Corrections and Rehabilitation (“MDCR”) facilities.

  Identified violations at MDCR facilities included suicide risks, serious medical and mental health

  needs, and an inadequate health screening process that likely contributed to multiple deaths from




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  drug or alcohol withdrawal. 1 Following the United States’ findings, the Parties engaged in

  substantial negotiations to reach an agreement that “when implemented, [would] ensure

  constitutional conditions at the MDCR Jail facilities.” ECF No. 5-1 at 4. The agreement between

  the Parties was narrowly tailored, extended no further than necessary, and used the least intrusive

  means to correct the underlying constitutional violations as required by the PLRA. See 18 U.S.C.

  § 3626(a)(1)(A).

              The Court entered the proposed Consent Agreement as an order on May 22, 2013. ECF

  No. 9. The Consent Agreement outlined requirements for medical and mental health care and

  suicide prevention practices. These requirements applied to all correctional facilities MDC

  operated. See ECF No. 5-2 at II.9. Additionally, the Consent Agreement outlined reporting

  requirements, monitoring processes, and termination requirements. These provisions would ensure

  that the Court and the United States could evaluate MDCR’s progress toward implementation

  while ensuring the Consent Agreement would terminate when the violations identified in the

  United States’ findings were no longer present.

        II.      PLRA Termination

              A Consent Agreement regarding prison conditions “shall be terminable” upon motion by

  Defendants. 18 U.S.C. § 3626(b)(1)(A). This provision of the PLRA requires that any

  prospective relief continues to be necessary, narrowly tailored, and the least intrusive means

  necessary to remedy a current and ongoing violation. See Cason v. Seckinger, 231 F.3d 777, 783




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      The findings letter also identified constitutional violations around excessive force, failure to
      protect individuals from serious risk of harm from other detained individuals, and unreasonable
      risk of harm concerning environmental health and safety conditions. These conditions were
      resolved through a separate settlement agreement between the Parties. The requirements of the
      settlement agreement were satisfied as of November 19, 2024. See Parties’ Notice of
      Termination of Settlement Agreement [ECF No. 280] (November 19, 2024).
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  (11th Cir. 2000). Termination of relief is appropriate unless the court makes “written findings

  based on the record” that relief remains necessary. 18 U.S.C. § 3626(b)(3). Eleventh Circuit

  precedent requires that parties opposing termination be allowed to present evidence of current

  and ongoing violations. Cason, 231 F.3d at 782; Loyd v. Alabama Dept. of Corrections, 176 F.3d

  1336, 1342 (11th Cir. 1999) (holding that it was an abuse of discretion to refuse an evidentiary

  hearing when there is a question of ongoing violations); c.f. Berwanger v. Cottey, 178 F.3d 834,

  840 (7th Cir. 1999) (stating that “[o]nly if there are disputed issues of material fact must the

  court hold a new hearing and receive new evidence”).

     III.      The United States Does Not Oppose Termination

            The United States is not opposing termination of prospective relief in this matter. The

  Court has all necessary information to promptly rule on Defendants’ Motion; therefore, the

  United States does not believe that good cause exists for a postponement of the PLRA’s

  automatic 30-day stay provision. See 18 U.S.C. § 3626(e)(2)-(3). The United States’ position is

  informed by the reports from the Independent Monitor and the Independent Compliance

  Director, which demonstrate that the Defendants have satisfied the requirements and purpose of

  the Consent Agreement. Because the Consent Agreement was explicitly developed to remedy

  underlying constitutional violations, the United States believes that MDCR’s sustained

  substantial compliance supports a determination that the court-ordered relief is no longer

  necessary.

            The Independent Monitor in this case has continuously provided measurement regarding

  MDCR’s compliance with the Consent Agreement, and the United States has generally

  concurred with the Independent Monitor’s reports. In April, the Independent Monitor determined

  that MDCR was now in sustained substantial compliance with all remaining provisions of the



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  Consent Agreement. ECF No. 284-2. The United States has no reason to question the

  Independent Monitor’s findings. The Independent Monitor’s assessment process involves

  multiple points of data collection and analysis, including independent record review,

  observations, and interviews with individuals held at MDCR. The Independent Compliance

  Director’s report, filed April 1, 2025, further supports MDCR’s compliance by highlighting the

  changes within MDCR since 2022, and adding additional evaluation that supports the

  Independent Monitor’s compliance determinations. In sum, the United States is confident

  Defendants have sustained substantial compliance with all requirements of the Consent

  Agreement.

     IV.      Conclusion

           The Parties have reached the desired end of the Consent Agreement filed twelve years

  ago. As previously indicated by the Parties’ Joint Motion for Termination, the United States

  agrees with the Defendants that all provisions and requirements of the Consent Agreement are in

  sustained substantial compliance. ECF No. 285. Because those provisions were narrowly tailored

  to remedy constitutional violations, termination is appropriate. As such, the United States will

  not present any evidence in opposition to Defendants’ Motion to Terminate under 18 U.S.C.

  § 3626(b)(1)(A), and no extension of PLRA’s automatic stay provisions is warranted. Instead,

  the Court should terminate the Consent Agreement and dismiss this case with prejudice.




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                                     Respectfully Submitted,

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